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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE

 In re: Valsartan Products Liability
 Litigation                                              MDL No. 2875

                                                         Honorable Robert B. Kugler,
 This document relates to:
                                                         District Court Judge
 Case No:       2019     -CV- 20448
                JESUS CRUZ                               Honorable Joel Schneider,
 Plaintiff 1:                                            Magistrate Judge
                ROBERTA CRUZ
 Plaintiff 2:

 Plaintiff 3:

 Plaintiff 4:

                                    SHORT FORM COMPLAINT

        Plaintiff(s) file(s) this Short Form Complaint and Demand for Jury Trial against Defendants named

below by and through the undersigned counsel. Plaintiff(s) incorporate(s) by reference the allegations

contained in Plaintiffs’ Master Long Form Complaint and Jury Demand in In re: Valsartan Products Liability

Litigation, MDL 2875 in the United States District Court for the District of New Jersey, Camden

Vicinage. Plaintiff(s) file this Short Form Complaint as permitted by Case Management Order

Nos. 3, 9, and 13 of this Court.

        In addition to those causes of action contained in Plaintiffs’ Master Long Form Complaint and Jury

Demand, where certain claims require specific pleadings and/or amendments, Plaintiff(s) shall add

and include them herein.
                                   IDENTIFICATION OF PARTIES

   I.       IDENTIFICATION OF PLAINTIFF(S)

            1. Name of individual who alleges injury due to use of a valsartan-containing drug:
                                 JESUS CRUZ
                  Plaintiff 1:


                  Plaintiff 2: ROBERTA CRUZ


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          Plaintiff 3:


          Plaintiff 4:

       2. This claim is being brought on behalf of
                    Myself

                ✔   Someone else
              a. If I checked, “someone else”, this claim is being brought on behalf of:
              ROBERTA CRUZ
              b. My relationship to the person in 2(a) is:
              SON



       3. Consortium Claim(s): The following individual(s) allege damages for loss of
          consortium:




       4. County and state of residence of Plaintiff or place of death of Decedent:

          County: _________________________
                  LOS ANGELES COUNTY

          State: ________________
                 CA

       5. If a survival and/or wrongful death claim is asserted:

                a. Name of the individual(s) bringing the claims on behalf of the

                    decedent’s estate, and status (i.e., personal representative,

                    administrator, next of kin, successor in interest, etc.):
               Name of the Individual(s)                          Status

           JESUS CRUZ                              NEXT OF KIN




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 II.   IDENTIFICATION OF DEFENDANTS

       6. Plaintiff(s) bring claims against the following Defendants:

       (*Defendants with asterisks next to their names have been dismissed
       pursuant to a dismissal and tolling stipulation entered by the Parties. By
       checking the box next to any asterisked Defendant(s), Plaintiff thereby
       represents that he or she would have brought an action against said
       Defendant(s) but for the dismissal and tolling stipulation.)

                     i.   API Manufacturers
       Defendant Role                         Defendant Name                    HQ States

   ✔   API Manufacturer                       Aurobindo Pharma, Ltd.            Foreign

       API Manufacturer Parent                Hetero Drugs, Ltd.                Foreign
   ✔
       Corporation

   ✔   API Manufacturer                       Hetero Labs, Ltd.                 Foreign

       API Manufacturer                       Mylan Laboratories Ltd.           Foreign

       API Manufacturer Parent                Mylan N.V.                        Foreign
       Corporation

   ✔
       API Manufacturer                    Zhejiang Huahai Pharmaceutical       Foreign
                                           Co., Ltd.
   ✔   API Manufacturer                       John Doe                          N/A


                   ii.    Finished Dose Manufacturers
       Defendant Role                         Defendant Name                    HQ States

   ✔   Finished Dose Manufacturer             Arrow Pharm (Malta) Ltd.          Foreign

   ✔   Finished Dose Manufacturer             Aurolife Pharma, LLC              NJ
   ✔   Finished Dose Manufacturer             Hetero Labs, Ltd.                 Foreign

       Finished Dose Manufacturer             Mylan Pharmaceuticals Inc.        WV
                                              Teva Pharmaceutical Industries,
       Finished Dose Manufacturer                                               Foreign
                                              Ltd.
   ✔   Finished Dose Manufacturer          Torrent Pharmaceuticals, Ltd.        Foreign
   ✔   Finished Dose Manufacturer          Zhejiang Huahai Pharmaceutical       Foreign
                                           Co., Ltd.
   ✔   Finished Dose Manufacturer          John Doe                             N/A

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                  iii.   Repackagers, Labelers, and Distributors
       Defendant Role                     Defendant Name                    HQ States

   ✔   Labeler/ Distributor                  Aceteris, LLC                  NJ

       Finished Dose Distributor             Actavis, LLC                   NJ

       Finished Dose Distributor          Actavis Pharma, Inc.              NJ

   ✔   Repackager                         A-S Medication Solutions, LLC     NE
   ✔   Finished Product Distributor       Aurobindo Pharma USA, Inc.        NJ

   ✔   Repackager                         AvKARE, Inc.                      TN
       Repackager                         Bryant Ranch Prepack, Inc.        PA
   ✔   Labeler/Distributor                Camber Pharmaceuticals, Inc.      NJ
       Parent Company for The Harvard Cardinal Health, Inc.                 OH
       Drug Group, L.L.C. d/b/a Major
       Pharmaceuticals
       Repackager                         The Harvard Drug Group, LLC       MI
                                          d/b/a Major Pharmaceuticals

       Repackager                         H J Harkins Co., Inc.             CA
   ✔   API Distributor                    Huahai U.S. Inc.                  NJ

       Repackager                         Northwind Pharmaceuticals         IN
       Repackager                         NuCare Pharmaceuticals, Inc.      CA

       Repackager                         Preferred Pharmaceuticals, Inc.   CA
   ✔   Repackager                         RemedyRepack, Inc.                PA
   ✔   Finished Dose Distributor          Solco Healthcare U.S., LLC        NJ
       Finished Dose Distributor          Teva Pharmaceuticals USA, Inc.    PA

   ✔   Finished Dose Distributor          Torrent Pharma, Inc.              NJ
   ✔   Labeler/Distributor/Repackager John Doe                              N/A




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                    iv.   Wholesaler Defendants

       Defendant Role                      Defendant Name                    HQ States
       Wholesaler                          AmerisourceBergen Corporation     PA
       Wholesaler                          Cardinal Health, Inc.             OH
       Wholesaler                          McKesson Corporation              TX
   ✔   Wholesaler                          John Doe                          N/A


                    v.    Pharmacies

       Defendant Role                      Defendant Name                    HQ States
       Pharmacy                            Albertsons Companies, LLC         ID
       Parent Corporation for Express      Cigna Corporation                 CT
       Scripts, Inc. and Express Scripts
       Holding Co.
       Pharmacy                            CVS Health                        RI
       Parent Corporation for Express      Express Scripts Holding Company   MO
       Scripts, Inc.
       Pharmacy                            Express Scripts, Inc.             MO
       Parent Corporation for Humana       Humana, Inc.                      KY
       Pharmacy, Inc.
       Pharmacy                            Humana Pharmacy, Inc.             KY
       Pharmacy                            The Kroger Co.                    OH
       Pharmacy                            OptumRx                           CA
       Parent Corporation for OptumRx Optum, Inc.                            MN
       Pharmacy                            Rite Aid Corp.                    PA
       Parent Corporation for OptumRx UnitedHealth Group                     MN
       and Optum, Inc.
       Pharmacy                       Walgreens Boots Alliance               IL
       Pharmacy                            Wal-Mart, Inc.                    AR
   ✔   Pharmacy                            John Doe                          N/A




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                             vi.     FDA Liaisons

              Defendant Role                            Defendant Name                 HQ States
        ✔     FDA Liaison                               Hetero USA, Inc.               NJ
        ✔     FDA Liaison                               Prinston Pharmaceutical Inc.   NJ

        ✔     FDA Liaison                               John Doe                       N/A



 III.       JURISDICTION AND VENUE

            7. Jurisdiction is based on:


                    ✔   Diversity of Citizenship
                        Other as set forth below:




            8. Venue: District and Division in which remand and trial is proper and where you

                 might have otherwise filed this Short Form Complaint, absent the Direct Filing

                                              Middle
                 Order entered by this Court: ______________ District of ____________
                                                                         CA

 IV.        PLAINTIFF’S INJURIES

            9. Injuries: Plaintiff was diagnosed with the following type of cancer:

             ✔     Liver                                         Kidney

                   Stomach                                 ✔     Colorectal

                   Pancreatic                                    Esophageal

                   Small Intestine                               Other:




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                                CAUSES OF ACTION

       10. Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long
           Form Complaint and Jury Demand as if fully set forth herein.

       11. The following claims and allegations asserted in the Master Long Form
           Complaint and Jury Demand are herein adopted by Plaintiff(s):


                       ✔   Count I:      Strict Liability – Manufacturing Defect
                       ✔   Count II:     Strict Liability – Failure to Warn
                       ✔   Count III:    Strict Liability – Design Defect
                       ✔   Count IV:     Negligence
                       ✔   Count V:      Negligence Per Se
                       ✔   Count VI:     Breach of Express Warranty
                       ✔   Count VII:    Breach of Implied Warranty
                       ✔   Count VIII:   Fraud
                       ✔   Count IX:     Negligent Misrepresentation
                       ✔   Count X:      Breach of Consumer Protection Statutes of the
                                         state(s) of:
                                         CALIFORNIA
                       ✔   Count XI:     Wrongful Death
                       ✔   Count XII: Survival Action
                           Count XIII: Loss of Consortium
                       ✔   Count XIV: Punitive Damages
                           Other State Law Causes of Action as Follows:




       12. Fraud Count: Plaintiff adopts, incorporates and relies upon the allegations made
           in the Master Complaint. Any additional Plaintiff-specific allegations as to the
           Fraud Count must be set forth here:




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       13. Express Warranty Count: Plaintiff adopts, incorporates, and relies upon the
          allegations made in the Master Complaint. Any additional Plaintiff-specific
          allegations as to the Express Warranty Count must be set forth here:




       14. Plaintiff(s) further bring claims against the following additional Defendants who are
           not listed above, and such claims are based upon the following grounds:

                Defendant                                         Grounds




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              Defendant                             Grounds




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WHEREFORE, Plaintiff(s) pray(s) for relief and demand(s) a trial by jury as set forth in the Plaintiffs’
Master Long Form Complaint in MDL 2875 in the United States District Court for the District of
New Jersey.


 NOVEMBER 18, 2019
 __________________________________________
 Date

 Steve Faries
 __________________________________
 /s/

 Steve, Faries
 _______________________________________________
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